   Case 22-19361-MBK              Doc 2302      Filed 05/13/24 Entered 05/13/24 15:19:14             Desc Main
                                              Document      Page 1 of 2

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

                                                                             Order Filed on May 13, 2024
                                                                             by Clerk
                                                                             U.S. Bankruptcy Court
                                                                             District of New Jersey




 In Re:                                                      Case No.:              22-19361 (MBK)
                                                                                  ____________________

 BlockFi, Inc.                                               Chapter:                      11
                                                                                  ____________________

                                                             Hearing Date:            April 25, 2024
                                                                                  ____________________

                                                             Judge:                 Michael B. Kaplan
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             ORDER *5$17,1*,13$577+(027,2172(1)25&(DQG
                     *5$17,1*7+(027,21)255(0$1'

                                                                                 2
      The relief set forth on the following pages, numbered two (2) through ___________
      is ORDERED.




DATED: May 13, 2024
Case 22-19361-MBK       Doc 2302     Filed 05/13/24 Entered 05/13/24 15:19:14         Desc Main
                                   Document      Page 2 of 2


 5IJTNBUUFSDPNFTCFGPSFUIF$PVSUPOUXPNPUJPOTB.PUJPOGPSBO0SEFS3FNBOEJOHUP4UBUF
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 $PNQBOZ #FSLTIJSF)BUIBXBZ4QFDJBMUZ*OTVSBODF$PNQBOZ 644QFDJBMUZ*OTVSBODF
 $PNQBOZ BOE9-4QFDJBMUZ*OTVSBODF$PNQBOZ DPMMFDUJWFMZ UIFi*OTVSFSTw 'PSUIFSFBTPOT
 TFUGPSUIJOUIFBDDPNQBOZJOH0QJOJPOJUJTIFSFCZ

 03%&3&%UIBUUIF*OTVSFSTh.PUJPOUP&OGPSDF &$'/P JT(3"/5&%*/1"35BOE
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 BDUJPOPGUIF"NFOEFE$PNQMBJOUJOUIF4UBUF$PVSU"DUJPOBOEJUJTGVSUIFS

 03%&3&%UIBUUIF8JOE%PXO%FCUPSTh.PUJPOGPSBO0SEFS3FNBOEJOHUP4UBUF$PVSU &$'
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